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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

MATTHEW BAPST, : Civil Action
Plaintiff,
¥ : No. 16-cv-00217-LJV-JMM
BISCOM INC., :
Defendant. i

 

STIPULATED CONFIDENTIALITY ORDER

1. This Confidentiality Order (“Confidentiality Order” or “Order”) shall
govern the designation and handling of non-public information and designated
Confidential Information produced in discovery in this Action by any party or
non-party. Documents obtained by, or made available to, any party by lawful
means other than through the discovery provisions of the Federal Rules of Civil
Procedure shall not be subject to this Confidentiality Order.

2. All information obtained by discovery in this Action and designated
either “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL)” shall be used only for
the purposes of this Action and disclosure shall be limited as provided herein.
Any party or non-party may designate as “CONFIDENTIAL” or “HIGHLY
CONFIDENTIAL” any documents, testimony, or other information produced or
provided in this Action, which the designating party believes in good faith is
subject to protection under Rule 26(c)(7) of the Federal Rules of Civil Procedure

(“Confidential Material”).
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3. Confidential documents or information shall be so designated by
affixing one of the following legends in a size and location that makes the

designation readily apparent and does not obscure or deface the document:

CONFIDENTIAL

or:

HIGHLY CONFIDENTIAL.

4, If any non-public documents or information are inadvertently
produced or disclosed without such CONFIDENTIAL or HIGHLY
CONFIDENTIAL designation, the designating party may as soon as practicable
so advise all parties of the inadvertent disclosure and request that the
information and documents be treated as CONFIDENTIAL or HIGHLY
CONFIDENTIAL to the extent possible after such notification, by producing
again copies of the documents or information with the legend required by
paragraph 3 hereof. In such event, the receiving party shall take reasonable
steps to retrieve the subject information and documents from any person not a
Qualified Person as hereinafter defined and to request them to regard the
information as confidential and not disclose it to any person not a Qualified
Person.

5. Any party wishing to designate as CONFIDENTIAL or HIGHLY
CONFIDENTIAL any deposition testimony or documents submitted as exhibits to
depositions may do so on the record during the deposition, or, to the extent the

party inadvertently or mistakenly fails to do so, within 30 days after receipt of the

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deposition transcript and exhibits, by providing written notice of the designation
to the parties and any other affected person as required by Paragraph 4. The
party making the designation at the deposition shall be responsible for informing
the court reporter in order to have those portions of the deposition transcript and
exhibits designated as CONFIDENTIAL or HIGHLY CONFIDENTIAL
appropriately marked and separately bound by the court reporter.

6. All documents and information designated CONFIDENTIAL or
HIGHLY CONFIDENTIAL shall be disclosed only to Qualified Persons as
hereinafter defined and shall not be further disclosed by them except to Qualified
Persons for the same or greater level of confidentiality. Such information shall be
used solely for purposes of this Action and shall not be disclosed for any other
purpose.

7. A party that wishes to file with the Court Confidential Material that
has been produced by another party to the action in support of any motion or for
any other purpose shall advise the designating party at least fourteen days before
such intended filing, shall specify the material(s) that it intends to file, and shall
indicate whether it will oppose a motion to file such documents under seal. If
within such fourteen days the producing party files a motion to permit such
material to be filed under seal, then the party shall refrain from filing such
material until the motion to seal is ruled upon, and, if granted, shall file such
Confidential Material under seal. Nothing herein shall relieve any party that

secks leave to file material under seal from showing good cause for same or from
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complying with the requirements of Local Civil Rule 5.3(c) or any applicable

Administrative Procedures concerning filing of Sealed Documents

8. Confidential Material may only be disclosed to the Court and its

personnel and Qualified Persons, and shall not be disclosed to any other persons.

9. With respect to Confidential Material designated as

CONFIDENTIAL, Qualified Persons shall be:

(a) Attorneys employed by the law firms of record representing the

parties and non-parties in this Action, and in-house counsel
employed by the Parties, and their respective secretarial, clerical
and paralegal employees whose functions require access to such

Confidential Material for purposes of this Action.

(b) Expert consultants and expert witnesses who are retained for

(c)

the purpose of preparing for, or testifying at the trial of this
Action, but only as to such Confidential Material as directly
relates to the matters and issues for which that expert has been
retained and with prior notice as provided in Paragraph 11
hereof, and provided that before disclosure of Confidential
Material to such persons, each shall be supplied with a copy of
this Stipulation and Confidentiality Order and shall execute an
acknowledgment of having read and agreed to be bound, in the
form annexed hereto. |

Such officers, directors or employees of a receiving party whom

counsel for said party reasonably determines needs to be shown

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such Confidential Material to assist counsel’s prosecution or
defense of this Action, provided that before disclosure of
Confidential Material to such persons, each shall be supplied
with a copy of this Stipulation and Confidentiality Order and
shall execute an acknowledgment of having read and agreed to
be bound, in the form annexed. |

(d) Any person who has previously had lawful access to such
Confidential Material.

(e) The Court and any Court personnel.

Counsel making disclosures as permitted herein will be responsible for informing
the recipients of Confidential Material of the terms of this Stipulation at the time
of disclosure and that they will be subject to the terms of this Stipulation, and for
obtaining the prior signed acknowledgment in the case of Qualified Persons as
defined in subparagraphs (b) and (c) above.

10. With respect to Confidential Material designated as HIGHLY
CONFIDENTIAL, Qualified Persons shall be:

(a) Attorneys employed by the law firms of record representing the
parties and non-parties in this Action, and in-house counsel
employed by the Parties, and their respective secretarial, clerical
and paralegal employees whose functions require access to such
Confidential Material for purposes of this Action.

(b) Expert consultants and expert witnesses who are retained for the

purpose of preparing for, or testifying at the trial of this Action,

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but only as to such Confidential Material as directly relates to
the matters and issues for which that expert has been retained
and with prior notice as provided in Paragraph 11 hereof, and
provided that before disclosure of Confidential Material to such
person, each shall be supplied with a copy of this Stipulation and
Confidentiality Order and shall execute an acknowledgment of
having read and agreeing to be bound, in the form annexed
hereto.
(c) Any person who has previously had lawful access to such
Confidential Material.
(d) The Court and any Court personnel.
Counsel making disclosures as permitted herein will be responsible for informing
the recipients of Confidential Material of the terms of this Stipulation at the time
of disclosure and that they will be subject to the terms of this Stipulation, and for
obtaining the prior signed acknowledgment in the case of Qualified Persons as
defined in subparagraph (b) above.

11. With respect to the experts referred to in Paragraphs 9(b) and 10(b)
hereof, the receiving party proposing to disclose Confidential Material to such
expert shall give the party who designated confidentiality at least 10 days written
notice of its intention to disclose such Confidential Material, together with the
identity and curriculum vitae of such expert. If the designating party objects to

such disclosure, said party may move the Court to prevent such disclosure within
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CONFIDENTIAL, the parties shall first attempt to resolve their dispute by
meeting and conferring with five (5) business days. If the dispute is not resolved
through the meet and confer process, the party objecting to the confidentiality
designation may at any time thereafter move the Court for appropriate relief with
respect to ‘he disputed designations. Any disputed document or other material
shall be treated with the designated confidentiality until the Court rules upon
any such motion.

14. Nothing in this Protective Order shall be deemed a waiver of the
right of any party to object to discovery as provided under the Federal Rules of
Civil Procedure on any basis other than confidentiality. Nothing herein shall
affect (a) the designating party’s obligation to show “good cause” for the protection
of the information under Rule 26(c) upon motion filed pursuant to Paragraph 138,
or (b) the right of any party to apply to the Court on notice to all affected parties
to obtain relief from this Order or to remove the confidentiality designation from
any document or information.

15. Nothing contained in this Protective Order shall be construed to
require production of Confidential Material or Highly Confidential Material that
is privileged or otherwise protected from discovery. If any document or
information is produced that a Party believes is immune from discovery pursuant
to the attorney-client privilege and/or the work-product doctrine, such production
shall not be deemed a waiver of any such privilege or doctrine, and such party
may give written notice to the receiving party that the document or information

produced is deemed privileged and that return of the document or information is

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requested. Upon receipt of such written notice, the receiving party shall
immediately gather the original and all copies of the document or information of
which the receiving party is aware and shall immediately return the original and
all such copies to the producing party. The return of the document(s) and/or
information to the producing party shall not preclude the receiving party from
later moving the Court to compel production of the returned documents and/or
information.

16. Inthe event that a party seeks discovery from a nonparty to this
action, the nonparty may invoke the terms of this Order in writing to all parties
with respect to any Confidential Material or Highly Confidential Material to be
provided to the requesting party by the nonparty.

17. At the final conclusion of this litigation, including any appeals,
Confidential Material subject to this Order, including all copies thereof, shall be
returned to the producing party or destroyed, at the producing party’s option.
Within 90 days of the conclusion of this litigation, the party returning or
destroying such Confidential Material shall certify in writing to the producing
party that the Confidential Material has been returned or destroyed.

18. Nothing in this Confidentiality Order shall limit any producing
party’s use of its own documents or shall prevent any producing party from
disclosing its own Confidential Materials to any person. Such disclosures shall
not affect any designation made pursuant to the terms of this Order so long as the

disclosure is made in a manner that is reasonably calculated to maintain the
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confidentiality of the information, and does not result in the information
becoming public knowledge as provided in this protective order.

19. The restrictions set forth in any of the preceding paragraphs shall
not apply to information or material that:

(a) was or has become public knowledge in a manner not in
violation of this Confidentiality Order or applicable law;

(b) is acquired by the receiving party without the process of the
court from a third party having the right to disclose such
information or material;

(c) was lawfully possessed by the receiving party prior to entry by
the Court of this Confidentiality Order.

20. The terms of this order shall survive the final termination of this
Action, and this Court retains jurisdiction of the parties, and of any person who
executes a copy of Exhibit A, indefinitely as to any dispute between any of them
regarding improper use of information disclosed pursuant to this Order.

21. The terms of this Stipulated Confidentiality Order may be modified

by the Court for good cause shown upon notice to all parties.

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IT IS SO STIPULATED:
Dated: November 2, 2016 Dated: November 2, 2016
LAW OFFICES OF KENNETH SPRINGUT LAW PC

HILLER, PLLC

By:__/S/ Milton Springut
Milton Springut, Esq.
45 Rockefeller Plaza, 20th Floor

 

 

6000 Nortf Bailey Ave., Suite LA New York, NY 10111
Amherst, NY 14226 (212) 813-1600
(716) 564-3288
Counsel for Plaintiff Matthew Bapst Counsel for Defendant Biscom Inc.
IT IS SO ORDERED.
Dated: // Ja Via Le pi Ji-+F)

Hon. Jevenfiah J. McCarthy,

United States Magistrate Judge

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EXHIBIT A

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

MATTHEW BAPST, | Civil Action
Plaintiff, :
v. : No. 16-cv-00217-LJV-JMM
BISCOM INC., :
Defendant. |

 

AGREEMENT TO BE BOUND BY CONFIDENTIALITY ORDER
The undersigned states that he/she has read and understands the Stipulated
Confidentiality Order entered by the Court in this action and agrees to abide by and
be bound by its terms and conditions. The undersigned further submits to the
jurisdiction of the United States Court for the Western District of New York for the
purposes of enforcing the Confidentiality Order and the punishment of any violation

thereof.

ef or
Print Name: >. AndYtus

Address Geoo Morth Dailey Awe Suite (A

Dated: . Ua lf
Signed: Yi f (ph
A sec,

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